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                   IN THE UNITED STATES DISTRICT COURT
                  FOR THE SOUTHERN DISTRICT OF GEORGIA
                           BRUNSWICK DIVISION

UNITED STATES OF AMERICA                    )
                                            )
v.                                          )       CASE NO. CR218-14
                                            )
DARRIUS MERRELL                             )


                                         ORDER

       The Defendant Darrius Merrell has filed an Amended Motion to Modify Conditions

of Release (576). Specifically, the defendant wishes to have his curfew extended to 11:30

p.m. on January 25 and January 26, 2019. After review and consideration, the Motion is

hereby DENIED. The first Motion to Modify Conditions of Release at Dkt. 567 was filed

with the incorrect dates, and is therefore DENIED as Moot.



       So ORDERED, this       25th   day of January, 2019.



                                     ___________________________________
                                     HONORABLE LISA GODBEY WOOD
                                     UNITED STATES DISTRICT COURT
                                     SOUTHERN DISTRICT OF GEORGIA
